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 2
                            IN THE UNITED STATES DISTRICT COURT
 3                              FOR THE DISTRICT OF MONTANA
                                    GREAT FALLS DIVISION
 4
     UNITED STATES OF AMERICA,                     )
 5                                                 )      Case 4:21-CV-00104-BMM-JTJ
                            Plaintiff,             )
 6                                                 )
             vs.                                   )      ORDER GRANTING
 7                                                 )      EXTENSION OF TIME TO FILE
     $155,379.00 IN U.S. CURRENCY,                 )      VERIFIED CLAIM
 8                                                 )
                            Defendant.             )
 9                                                 )

10           UPON motion of the Claimant, having no objection from the U.S., and good cause

11   appearing therein;

12           IT IS HEREBY ORDERED that Claimant, Michael Wakeford, is granted an extension of

13   time to file a verified claim. Claimant shall file a verified claim on, or before, December 7,

14   2021.

15           IT IS FURTHER ORDERED that Claimant will then have 21 days from the new deadline

16   of December 7, 2021 to file a response to the Verified Complaint for Forfeiture In Rem.

17           DATED this 1st day of November, 2021.

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